                      Case 9:17-bk-12341-DS                                  Doc 9 Filed 01/15/18 Entered 01/15/18 12:45:00                                                      Desc
                                                                             Main Document    Page 1 of 50

    Debtor 1                    Jon Wells
                                Fin1 Name                              Middle Name                            Last Name




I
    Debtor 2
    (Spouse if, filing)         First Name                             Middle Name                            Last Name
                                                                                                                                                                  I
    United States Bankruptcy Court for the:

( Case number
                                                                CENTRAL DISTRICT OF CALIFORNIA
                                                                                                                                                                  I
    (if known)                                                                                                                                                        [7 Check if this is an
                                                                                                                                                                         amended filing



Official
 --
         Form 1O6Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                     12115
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your sdhedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summaryand check the box at the top of this page.

                   Summarize Your Assets

                                                                                                                                                                         Your assets
                                                                                                                                                                         Value of what you own

    1.     Schedule AIB: Property (Official Form 106NB)
           l a . Copy line 55, Total real estate, from Schedule N B................................................................................................      $              88,200.00

           Ib. Copy line 62, Total personal property, from Schedule N B..................................................................................                $              14,482.60

           l c . Copy line 63, Total of all property on Schedule N B...............................................................................................      $             102,682.60

-summarize                         Your Liabilities

                                                                                                                                                                         Your liabilities
                                                                                                                                                                         Amount you owe

    2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
           2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                         $          1,322,218.88

    3.     Schedule UF: Creditors Who Have Unsecured Claims (Official Form 106EIF)
           3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                               $              11,208.21

           3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                                 $             727,081.40


                                                                                                                                              Your total liabilities $           2,060,508.49


                   Summarize Your Income and Expenses

    4.     Schedule I:Your lncome (Official Form 1061)
           Copy your combined monthly income from line 12 of Schedule I................................................................................                  $                3,750.58

    5.     Schedule J: Your Expenses (Official Form 106J)
           Copy your monthly expenses from line 22c of Schedule J ..........................................................................                             $              18,159.66

                   Answer These Questions for Administrative and Statistical Records

    6.     Are you filing for bankruptcy under Chapters 7,11, or 13?
                No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

              Yes
    7.     What kind of debt do you have?

                   Your debts are primarily consumer debts. Consumer debtsare those "incurred by an individual primarily for a personal, family, or
                   household purpose." 11 U.S.C. 5 lOl(8). Fill out lines 8-99 for statistical purposes. 28 U.S.C. 5 159.

                   Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
                   the court with your other schedules.
    Official Form 106Sum                     Summary of Your Assets and Liabilities and Certain Statistical Information                                                        page 1 of 2
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Debtor 1      Jon Wells                                                                   Case number (if known)
                                                                                                                                                   i
8.    From the Statement o f Your Current Monthly Income: Copy your total current monthly income from Official Form
      122A-1 Line 11; OR, Form 1228 Line 11; OR, Form 122C-1 Line 14.                                                              3,750.58


9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:




      9a. Domestic support obligations (Copy line 6a.)                                                 $                 0.00

      9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                        $           11,208.21

      9c.claims for death or personal injury while you were intoxicated. (Copy line 6c.)               $                 0.00

      9d. Student loans. (Copy line 6f.)                                                               $                 0.00

      9e. Obligations arising out of a separation agreement or divorce that you did not report as
          priority claims. (Copy line 69.)                                                             $                 0.00

      9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)          +$                 0.00


      9g. Total. Add lines 9a through Sf.




Official Form 1O6Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information           page 2 of 2
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 Debtor 1                   Jon Wells
                            First Name                                  Middle Name                    Last Name

I1 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name

 United States Bankruptcy Court for the:                      CENTRAL DISTRICT OF CALIFORNIA

 Case number                                                                                                                                                    Check if this is an
                                                                                                                                                                amended filing



Official Form 106AIB
Schedule AIB: Property                                                                                                                                                     12115
In each category, separately list and describe items. List an asset only once. If an asset fits i n more than one category, list the asset i n the category where you
think it fits best. Be as complete and accurate as possible. If two married people are tiling together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top o f any additional pages, write your name and case number (if known).
Answer every question.

             Describe Each Residence, Building, Land, or Other Real Estate You Own o r Have an Interest I n

1. Do you own o r have any legal o r equitable interest i n any residence, building, land, or similar property?

   Cl NO. GO to Part 2.
        Yes. Where is the property?




                                                                                What is the property? Check all that apply
        855 Venice Road                                                                Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description
                                                                                       Duplex or multi-unit building              the amount of any secured claims on Schedule D:
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value o f the     Current value of the
        Templeton                         CA        93465-8557                         Land                                       entire property?          portion you own?
        City                              State              ZIP Code                  Investment property                            $1,470,000.00                   $88,200.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest i n the property? Check one   a life        if known.
                                                                                       Debtor 1 only                              Equitable interest
        San Luis Obispo                                                                Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only                     Check if this i s community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:




                                                                                                                                                                                       I
 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here........................................................................... =>
               Describe Your Vehicles
                                                                                                                                                       I
                                                                                                                                                       I
                                                                                                                                                                   $88,200.00          1
                                                                                                                                                                                       I




Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106NB                                                                   Schedule NB: Property                                                                    page 1
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 Debtor 1            J o n Wells                                                                                     Case number (ifknown)

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1        Make:      Ford                                   Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
             Model:     Fl50                                      Debtor 1 only                                               Creditors Who Have Claims Secured by Properly.
             Year:      2016                                      Debtor 2 only                                               Current value of the      Current value of the
             Approximate mileage:              20000           [7 Debtor 1 and Debtor 2 only                                  entire property?          portion you own?
             Other information:                                      At least one of the debtors and another
        I
                                                         1           Check if this is community property
               1                                                     (see instructions)



4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
   [7 Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here............................................................................. =>
                                                                                                                                                 11                  $0.00      I
        Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                    Current value of the
                                                                                                                                                      portion you own?
                                                                                                                                                      Do not deduct secured
                                                                                                                                                      claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
            Yes. Describe.....

                                    I Miscellaneous Household Furnishings                                                                                             $250.00



                                    1 Miscellaneous Household Appliances                                                                                             $250.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
            Yes. Describe.....

                                    1 Miscellaneous Electronics                                                                                                      $500.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
       No
    [7 Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
       No
    [7 Yes. Describe.....


Official Form 106AIB                                                       Schedule AIB: Property                                                                        page 2
Sofhvare Copyright (c) 1996-2017 Best Case. LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
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Debtor 1            Jon Wells                                                                                                   Case number (if known)

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
         No
         Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
         Yes. Describe.....

                                               I Wearing Apparel                                                                                                        $100.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
         Yes. Describe.....

                                               1 Watch                                                                                                                  $500.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
         No
    [7 Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
         No
         Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................


        Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                             Current value of the
                                                                                                                                                         portion you own?
                                                                                                                                                         Do not deduct secured
                                                                                                                                                         claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
         No
         Yes ................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:

                                                               Checking Account
                                                   17.1.       #3565                                      Rabobank                                                          $0.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
         No
         yes..................                               Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
         Yes. Give specific information about them...................

Official Form 106AIB                                                                              Schedule A/B: Property                                                    page 3
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Debtor 1         Jon Wells                                                                                    Case number (if known)

                                            Name of entity:                                                    % of ownership:

                                            Seven Peaks Medical Medical Group, Inc.                                  49          %


                                            Chiro Care Inc.                                                          100         YO                         $0.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
       No
       Yes. Give specific information about them
                                   Issuer name:

21. Retirement or pension accounts
    Examples: lnterests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   17 No
        Yes. List each account separately.
                                Type of account:                            Institution name:

                                          Pension                           Vanguard


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunicationscompanies, or others
        No
        Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
    17 Yes .............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. 33 530(b)(l). 529A(b), and 529(b)(I).
        No
        Yes .............            Institution name and description. Separately file the records of any interests.11 U.S.C. 3 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line I),
                                                                                            and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them ...

 Money or property owed to you?                                                                                                           Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years .......




Official Form 106NB                                                    Schedule N B : Property                                                               page 4
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Debtor 1         Jon Wells                                                                                                        Case number (ifknown)

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
        No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                                        Beneficiary:                              Surrender or refund
                                                                                                                                                                value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
      No
        Yes. Describe each claim.........

                                                         1 Santa Barbara County Sheriff Levy on Behalf of American
                                                         1 Express
34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..

 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here .....................................................................................................................


            Describe Any Business-Related Property You Own or Have an lnterest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38



            Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an lnterest In.
            If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           NO. GO to Part 7.

           Yes. Go to line 47.




Official Form 106NB                                                             Schedule NB: Property                                                                             page 5
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Debtor 1          Jon Wells                                                                                                                 Case number (if known)


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........

54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................


                List the Totals of Each Part of this Form


55. Part 1 : Total real estate, line 2 ......................................................................................................................             $88,200.00
56. Part 2: Total vehicles, line 5                                                                                     $0.00
57. Part 3: Total personal and household items, line 15                                                            $1,600.00
58. Part 4: Total financial assets, line 36                                                                       $12,882.60
59. Part 5: Total business-related property, line 45                                                                   $0.00
60. Part 6: Total farm- and fishing-related property, line 52                                                          $0.00
61. Part 7: Total other property not listed, line 54                                                 +                 $0.00

62. Total personal property. Add lines 56 through 61...                                                           $14,482.60              Copy personal property total

 63. Total of all property on Schedule AIB. Add line 55 + line 62




Ofticial Form 106AIB                                                                  Schedule AIB: Property                                                                        page 6
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    Debtor I              Jon Wells
                          First Name                     Middle Name                   Last Name

    Debtor 2
    (Spouse if, filing)   First Name                     Middle Name                   Last Name

1   United States Bankruptcy Court for the:        CENTRAL DISTRICT OF CALIFORNIA

    Case number
    (if known)                                                                                                                         Check if this is an
                                                                                                                                       amended filing


Official Form 106C
Schedule C: The Propertv You Claim as Exempt
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule AIB: Property (Official Form 106NB) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions--such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds-may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.



    1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

              You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

              You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

    2. For any property you list on ScheduleA/B that you claim as exempt, fill in the information below.
         Brief description of the property and line on      Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
         Schedule N B that lists this property              portion you own
                                                            Copy the value from    Check only one box for each exemption.
                                                            Schedule A43
         855 Venice Road Templeton, CA                            $88,200.00       W                                C.C.P. 5 704.730
                                                                                                          $~OO,OOO.OO
         93465-8557 San Luis Obispo County




                                                                                   .
         Line from Schedule N B : 1. I                                                   100% of fair market value, up to
                                                                                         any applicable statutory limit

         2016 Ford F150 20000 miles                                        $0.00                                   $0.00    C.C.P.    704.010
            from Schedule N B : 3.1
         L~ne
                                                                                         100% of fair market value, up to
                                                                                         any applicable statutory limit

         Miscellaneous Household                                       $250.00     W                            $250.00     C.C.P.    704.020
         Furnishings
         Line from Schedule N B : 6.1                                                    100% of fair market value, up to
                                                                                         any applicable statutory limit

         Miscellaneous Household                                       $250.00     W                            $250.00     C.C.P.    704.020
         -   -.
         A ~,~
             ~liances
         Line from Schedule N B : 6.2                                                    100% of fair market value, up to
                                                                                         any applicable statutory limit

         Miscellaneous Electronics                                     $500.00     W                            $500.00     C.C.P.    704.020
         Line from Schedule N B : 7.1
                                                                                         100% of fair market value, up to
                                                                                         any applicable statutory limit




Official Form 106C                                   Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
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 Debtor 1    Jon Wells                                                                                 Case number ( ~known)
                                                                                                                      f




                                                                                     .
     Brief description of the property and line on            Current value of the   Amount of the exemption you claim         Specific laws that allow exemption
     ScheduleA/B that lists this property                     portion you own
                                                              Copy the value from    Check only one box for each exemption.
                                                              Schedule N B

     Wearing Apparel                                                    $100.00                                   $IOO.OO      C.C.P. Q 704.020
     Line from Schedule N B : 11.I
                                                                                          100% of fair market value, up to
                                                                                          any applicable statutory limit

     Watch                                                                                                        $500.00      C.C.P. Q 704.040




                                                                                     .
     Line from Schedule N B : 12.1
                                                                                          100% of fair market value, up to
                                                                                          any applicable statutory limit

     Pension: Vanguard                                               $6,666.50                                 36,666.50       C-C.P. § 704.115(a)(l 1 8 (21,




                                                                                     .
     Line from Schedule N B : 21 . I                                                                                           (b)
                                                                                          100% of fair market value, up to
                                                                                          any applicable statutory limit

     American Express, Levy on account                               $6,216.10                                 $6,216.10       C.C.P. Q 704.140
     Line from Schedule N B : 33.1
                                                                                          100% of fair market value, up to
                                                                                          any applicable statutory limit




     .
 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                     Schedule C: The Property You Claim a s Exempt                                                      page 2 of 2
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Debtor I                   Jon Wells
                           First Name                        Middle Name                        Last Name

Debtor 2
(Spouse if, filing)        First Name                        Middle Name                        Last Name

United States Bankruptcy Court for the:               CENTRAL DISTRICT OF CALIFORNIA

Case number
(if known)                                                                                                                                              Check if this is an
                                                                                                                                                        amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                 12115
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
 Do any creditors have claims secured by your property?
I.
     [7 No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below.
-~ist                 All Secured Claims
                                                                                                                  Column A               Column B                Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As          Amount of claim        Value of collateral     Unsecured
much as possible, list the claims In alphabetical order according to the creditor's name.                         Do not deduct the      that supports this      portion
                                                                                                                  value of collateral.   claim                   If any
121American Express                                Describe the property that secures the claim:                      $27,368.27           $1,470,000.00                      $0.00
        Creditor's Name
                                                   855 Venice Road Templeton, CA
                                                   93465-8557 San Luis Obispo
        555 St. Charles Dr. X204
                                                   ?~:l!~date        you file, the claim is: check all that
        Thousand Oaks, CA                          apply.
        91360                                      [7 contingent
        Number. Street, City. State 8 Zip Code     [7 Unliquidated
                                                     Disputed
W h o owes the debt? Check one.                    Nature of lien. Check all that apply.




                                                   .
     Debtor 1 only                                     An agreement you made (such as mortgage or secured
                                                        car loan)
    Debtor 2 only
 [7 Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic's lien)
 [7 At least one of the debtors and another            judgment lien from a lawsuit
 [7 Check if this claim relates to a                   Other (including a right to offset)
     community debt

Date debt was incurred                                      Last 4 digits of account number


122Ford                                            Describe the property that secures the claim:                      $60,948.63               $35,000.00           $25,948.63
        Creditots Name
                                                   2016 Ford F150 20000 miles

        PO Box 62180                                                                                          I
                                                   As of the date you file, the claim is: Check all that
        Colorado Springs, CO                       apply.
        80962                                          Contingent
        Number. Street, City. State 8 Zip Code         Unliquidated
                                                     Disputed
W h o owes the debt? Check one.                    Nature of lien. Check all that apply.

     Debtor 1 only                                     An agreement you made (such as mortgage or secured
    Debtor 2 only                                       car loan)
     Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another            Judoment lien from a lawsuit
     Check if this claim relates to a                  Other (including a right to offset)
     community debt

 Date debt was incurred                                     Last 4 digits of account number          7704


Official Form 106D                                Schedule D: Creditors W h o Have Claims Secured by P r o p e r t y                                                     page 1 of 2
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               Case 9:17-bk-12341-DS                            Doc 9 Filed 01/15/18 Entered 01/15/18 12:45:00                                      Desc
                                                                Main Document    Page 12 of 50
Debtor 1     Jon Wells                                                                                      Case number (if know)
             First Name                  Middle Name                      Last Name



123Ocwen Loan Servicing                            Describe the property that secures the claim:               $1,233,901.98        $1,470,000.00              $0.00
       Creditor's Name
                                                 8 5 5 Venice Road Templeton, CA
                                                  93465-8557 San Luis Obispo
       PO Box 24738                               County
                                                  As of the date you file, the claim is: Check all that
       West Palm Beach, FL                         apply.
       33416-4738                                      Contingent
       Number. Street, City. State 8 Zip Code          Unliquidated
                                                     Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.

1 Debtor 1 only                                        An agreement you made (such as mortgage or secured
rn Debtor 2 only                                        car loan)
rn Debtor 1 and Debtor 2 only                          Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another        rn Judgment lien from a lawsuit
    Check if this claim relates to a                   Other (including a right to offset)
    community debt

Date debt was incurred                                      Last 4 digits of account number        5582


  Add the dollar value of vour entries i n Column A on this ~         -
                                                               . a a eWrite
                                                                      .     that number here:                          $1.322.218.88 1
  If this is the last page of your form, add the dollar value totals from all pages.
  Write that number here:



Use this page only i f you have others to be notified about your bankruptcy for a debt that you already listed i n Part 1. For example, if a collectionagency is
trying to collect from you for a debt you owe to someone else, list the creditor i n Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
debts i n Part 1, do not fill out or submit this page.




Official Form 106D                    Additional Page of Schedule D: C r e d i t o r s W h o Have Claims Secured b y P r o p e r t y                       page 2 of 2

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Debtor I                     Jon Wells
                             First Name                    Middle Name                       Last Name

Debtor 2
(Spouse if, filing)          First Name                    Middle Name                       Last Name


United States Bankruptcy Court for the:                CENTRAL DISTRICT O F CALIFORNIA

Case number
(if known)                                                                                                                                          Check if this is a n
                                                                                                                                                    amended filing


Official Form 106ElF
Schedule EIF: Creditors Who Have Unsecured Claims                                                                                                               12115
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other parly to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule N B : Properly (Official Form 106NB) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Properly. If more space i s needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report i n a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
                List All of Your PRIORITY Unsecured Claims
 1.   Do any creditors have priority unsecured claims against you?
          NO. GO to Part 2.

          Yes.
 2.   List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed.
      identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
      possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority unsecured claims, fill out the Continuation Page of
      Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
      (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                                        amount                amount
121 Internal Revenue Service
             Priority Creditor's Name
                                                                   Last 4 digits of account number       4000

             PO Box 7704                                           When was the debt incurred?           1212015
             San Francisco, CA 94120
             Number Street City State Zlp Code                     As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                             Contingent
             Debtor 1 only                                            Unliquidated
             Debtor 2 only                                            Disputed
             Debtor 1 and Debtor 2 only                            Type of PRIORITY unsecured claim:

             At least one of the debtors and another                  Domestic support obligations

             Check i f this claim is for a community debt             Taxes and certain other debts you owe the government
        Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
             No                                                       Other. Specify
             Yes                                                                       Tax Debt Last Statement Date: 31212017




Official Form 106 E/F                                   Schedule EIF: Creditors Who Have Unsecured Claims                                                            Page 1 of 18
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Debtor 1     Jon Wells                                                                                     Case number (if know)

122 Internal Revenue Service
          Priority Creditor's Name
                                                                   Last 4 digits of account number      8922                $6,196.30              $6,196.30         -          $0.00




       .
          PO BOX801 10                                             When was the debt incurred?          2014
          Cincinnati, OH 45280-01 10
          Number Street City State Zlp Code                        As of the date you file, the claim is: Check all that apply
      Who incurred the debt? Check one.                               Contingent
          Debtor 1 only                                               Unliquidated




                                                                   .
          Debtor 2 only                                               Disputed
          Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:




       .
          At least one of the debtors and another                     Domestic support obligations

          Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                Claims for death or personal injury while you were intoxicated
           No                                                         Other. Specify
          yes                                                                          Seven Peaks Medical Group Tax Debt
                                                                                       Last Statement Date: 911812017

          Internal Revenue Service                                 Last 4 digits of account number      8922                $4,081.82              $4,081.82         -          $0.00
          Priority Creditor's Name




      .
          PO BOX80110                                              When was the debt incurred?          2013
          Cincinnati, OH 45280-01 10
          Number Street City State Zlp Code                        As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                              Contingent
           Debtor 1 only                                              Unliquidated




                                                                   .
           Debtor 2 only                                              Disputed
           Debtor 1 and Debtor 2 only                              Type of PRIORITY unsecured claim:




      .
           At least one of the debtors and another                    Domestic support obligations

           Check ifthis claim i s for a community debt                Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                Claims for death or personal injury while you were intoxicated
           No                                                      n Other. Specify
           yes                                                                         Seven Peaks Medical Group Tax Debt
                                                                                       Last Statement Date: 911812017




      .
                L i s t A l l of Y o u r NONPRlORlTY Unsecured Claims
 3.   Do any creditors have nonpriority unsecured claims against you?

         No. You have nothing to report in this part. Submit this form to the court with your other schedules.

         Yes.

4.    List all of your nonpriority unsecured claims i n the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
      unsecured claim. list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
      than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than three nonpriority unsecured claims fill out the Continuation Page of
      Part 2.
                                                                                                                                                              Total claim




Official Form 106 U F                                   Schedule EIF: Creditors Who Have Unsecured Claims                                                                 Page 2 of 18
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                Case 9:17-bk-12341-DS                           Doc 9 Filed 01/15/18 Entered 01/15/18 12:45:00                                         Desc
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-4
 Debtor 1 J o n Wells

14.1                                                                Last 4 digits of account number
                                                                                                         Case number (if know)

                                                                                                          3881                                               $331 . I 3
          Nonpriority Creditor's Name
          650 Sweeney Lane                                          When was the debt incurred?            3121116
          San Luis Obispo, CA 93401
          Number Street City State Zlp Code                         As o f the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                            Contingent
              Debtor 2 only                                            Unliquidated
          1
          7 Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another               Type of NONPRlORlTY unsecured claim:

              Check i f this claim is for a community                  Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims
              No                                                       Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Bill
          1
          7 Yes                                                        Other. Specify    Last Statement Date: 412012016


4.2    1 2Last 4 digits of account number                                                                 5004
          Nonpriority Creditor's Name
          PO Box 0001                                               When was the debt incurred?
          Los Angeles, CA 90096-8000
          Number Street City State Zlp Code                         As o f the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                       Contingent
              Debtor 1 only
              Debtor 2 only                                            Unliquidated

              Debtor 1 and Debtor 2 only                               Disputed
              At least one of the debtors and another               Type of NONPRlORlTY unsecured claim:

              Check if this claim is for a community                   Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims

              No                                                       Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Credit Card
              Yes                                                      Other. Specify    Last Statement Date: 2/2/2017


43 Anthem Blue Cross
          Nonprioritv Creditor's Name
                                                                    Last 4 digits of account number                                                      $55,000.00

          POBO; 964                                                 When was the debt incurred?
          Woodland Hills, CA 91365
          Number Street City State Zlp Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                            Contingent

              Debtor 2 only                                            Unliquidated
           1
           7 Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

          17 Check if this claim is for a community                    Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims
              No                                                       Debts to pension or profit-sharing plans, and other similar debts

                                                                                        Bill
              yes                                                      Other. Specify   Last Statement Date: 31912016




Official Form 106 EIF                                   Schedule EIF: Creditors Who Have Unsecured Claims                                                   Page 3 o f 18
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Debtor 1 Jon Wells                                                                                        Case number (if know)

144 Associated Hand Surgeons
          Nonpriority Creditor's Name
                                                                     Last 4 digits of account number       A661                                                $201.34

          PO Box 14099                                               When was the debt incurred?           812512016
        9
          Number Street City State Zlp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                          [7 Contingent
          [7 Debtor 2 only                                           [7 Unliquidated
          [7 Debtor 1 and Debtor 2 only                              [7 Disputed
             At least one of the debtors and another                 Type of NONPRlORlTY unsecured claim:

          [7 Check if this claim i s for a community                 [7 Student loans
          debt                                                       [7 Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                     [7 Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Medical Bill
          [7 Yes                                                        Other. Specify    Last Statement Date: 911212016


(451 Bioventus LLC                                                   Last 4 digits of account number       8664       .                                     $7,250.00
          Nonpriority Creditor's Name
          PO Box 732823                                              When was the debt incurred?           313012017
          alla as, TX 75373-2823
          Number Street City State Zlp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
          [7 Debtor 1 only                                              Contingent

          [7 Debtor 2 only                                              Unliquidated
          1
          1 Debtor 1 and Debtor 2 only                                  Disputed
              At least one of the debtors and another                Type of NONPRlORlTY unsecured claim:

          11 Check if this claim i s for a community                 [7 Student loans
          debt                                                       [7 Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                     [7 Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Bill
              Yes                                                       Other. Specify    Last Statement Date: 313012017


(46       Charter Communications                                     Last 4 digits of account number       2620                                                $327.25
          Nonpriority Creditor's Name
          PO Box 60229                                               When was the debt incurred?
          Los Angeles, CA 90060-0229
          Number Street City State Zlp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                         Contingent
              Debtor 1 only
              Debtor 2 only                                              Unliquidated

          [7 Debtor Iand Debtor 2 only                                   Disputed
              At least one of the debtors and another                Type of NONPRlORlTY unsecured claim:

          [7 Check if this claim i s for a community                 [7 Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                     [7 Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Bill
              yes                                                        Other. Specify   Last Statement Date: 12/8/2017




Official Form 106 €IF                                   Schedule EIF: Creditors Who Have Unsecured Claims                                                     Page 4 o f 18
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Debtor 1 Jon Wells                                                                                     Case number (if know)

         Commercial Collection Service, Inc.                     Last 4 digits o f account number                                                     $15,738.42
         Nonpriority Creditor's Name
         2250 King Ct #50                                        When was the debt incurred?
         San Luis Obispo, CA 93401-3291
         Number Street City State Zlp Code                       As o f the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
         [7 Debtor 2 only                                           Unliquidated

             Debtor 1 and Debtor 2 only                             Disputed
         [7 At least one of the debtors and another              Type o f NONPRlORlTY unsecured claim:

         [7 Check if this claim i s for a community                 Student loans
         debt                                                       Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                         report as priority claims

             No                                                  [7 Debts to pension or profit-sharing plans, and other similar debts
             yes                                                    Other, Specify    Judgment Lien Date: 3/22/2017


L48j     Culligan Water                                          Last 4 digits of account number        7167
         N o n ~ r i o r iCreditor's
                          t~         Name
         700 west Cook Street                                    When was the debt incurred?            811312017
         Santa Maria, CA 93458
         Number Street City State Zlp Code                       As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one

             Debtor 1 only                                       [7 Contingent
             Debtor 2 only                                           Unliquidated
          [7 Debtor 1 and Debtor 2 only                             Disputed
             At least one of the debtors and another             Type o f NONPRIORITY unsecured claim:

         [7 Check if this claim is for a community               [7 Student loans
         debt                                                    [7 Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                         report as priority claims

             No                                                      Debts to pension or profit-sharing plans, and other similar debts

                                                                                      Bill
             Yes                                                     Other. Specify   Last Statement Date: 811312017


          David Singer Enterprises                               Last 4 digits of account number                                                         $7,615.76
         Nonpriority Creditor's Name
          300 S. Duncan Ave                                      When was the debt incurred?
          Clearwater, FL 33755
          Number Street City State Zlp Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                           Contingent
          [7 Debtor 2 only                                       1
                                                                 7 Unliquidated
             Debtor 1 and Debtor 2 only                          [7 Disputed
             At least one of the debtors and another             Type of NONPRlORlTY unsecured claim:

          [7 Check i f this claim i s for a community            [7 Student loans
          debt                                                      Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                  1
                                                                 7 Debts to pension or profit-sharing plans, and other similar debts
                                                                                      Bill
             yes                                                     Other. Specify   Last Statement Date: 9/30/2016




Official Form 106 EIF                                Schedule EIF: Creditors Who Have Unsecured Claims                                                    Page 5 of 18
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                                                               Main Document    Page 18 of 50
Debtor 1 Jon Wells                                                                                        Case number (if know)


fi
I


          Divine Plant Design, lnc.
          Nonpriority Creditor's Name
                                                                     Last 4 digits o f account number       4398                                               $154.50

          1039 Par Avenue                                            When was the debt incurred?            1/1/2017
          Paso Robles, CA 93446
          Number Street City State Zlp Code                          As o f the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                              Contingent
             Debtor 2 only                                              Unliquidated
             Debtor 1 and Debtor 2 only                                 Disputed
             At least one of the debtors and another                 Type o f NONPRIORITY unsecured claim:

              Check i f this claim i s for a community                  Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Bill
             yes                                                        Other. Specify    Last Statement Date: 11112017


W         Filipponi and Thompson Pump CO
          Nonpriority Creditor's Name
                                                                     Last 4 digits o f account number                                                       $1,228.21

          3250 East Camino Real                                      When was the debt incurred?
          Atascadero, CA 93422
          Number Street City State Zlp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
             At least one of the debtors and another                 Type o f NONPRlORlTY unsecured claim:

          [7 Check if this claim i s for a community                    Student loans
          debt                                                       [7 Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject t o offset?                           report as priority claims

              No                                                     [7 Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other, Specify    Personal Debt


W        Gannage Technology Services
         -
          Nonpriority Creditor's Name
                                                                     Last 4 digits of account number        1157

          1270 Poplar St. Apt A                                      When was the debt incurred?            3/24/17
          Arroyo Grande, CA 93420
          Number Street City State Zlp Code                          As o f the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type o f NONPRIORITY unsecured claim:

              Check i f this claim i s for a community               [7 Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject t o offset?                           report as priority claims

              No                                                     [7 Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Bill
          17 Yes                                                        Other. Specify    Last Statement Date: 4/1/2017




Official Form 106 €IF                                   Schedule EIF: Creditors Who Have Unsecured Claims                                                     Page 6 o f 18
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                                                              Main Document    Page 19 of 50
 Debtor 1    Jon Wells                                                                                  Case number (it know)


           Idler's Home                                            Last 4 digits of account number       47AC                                                 $92.34
           Nonpriority Creditor's Name
          2361 Theatre Drive                                       When was the debt incurred?           12/22/2016
          Paso Robles, CA 93446
          Number Street City State Zlp Code                        As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                           Contingent
           [7 Debtor 2 only                                        [7 Unliquidated
           [7 Debtor 1 and Debtor 2 only                              Disputed
           [7 At least one of the debtors and another              Type of NONPRlORlTY unsecured claim:

          [7 Check if this claim i s for a community               [7 Student loans
          debt                                                     [7 Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject t o offset?                         report as priority claims
              No                                                   [7 Debts to pension or profit-sharing plans, and other similar debts
                                                                                        Bill
              Yes                                                     Other. Specify    Last Statement Date: 12/22/2016


1 I Jubilant HollisterStier LLC
L '   I

          Nonpriority Creditor's Name
                                                                   Last 4 digits of account number       41 33

          PO Box 3145                                              When was the debt incurred?           4131201 7
          Spokane, WA 99220
          Number Street City State Zlp Code                        As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           [7 Debtor 1 only                                           Contingent

           [7 Debtor 2 only                                           Unliquidated
           [7 Debtor 1 and Debtor 2 only                              Disputed
              At least one of the debtors and another              Type of NONPRlORlTY unsecured claim:

          [7 Check if this claim i s for a community                  Student loans
          debt                                                     [7 Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject t o offset?                         report as priority claims

              No                                                   [7 Debts to pension or profit-sharing plans, and other similar debts
                                                                                        Bill
              Yes                                                     Other. Specify    Last Statement Date: 4/3/2017


           Kemper Special                                          Last 4 digits of account number       5704
          Nonpriority Creditor's Name
          PO Box 660420                                            When was the debt incurred?           3181201 7
          Dallas, TX 75266-0420
          Number Street City State Zlp Code                        As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                           Contingent
              Debtor 2 only                                        [7 Unliquidated
           [7 Debtor 1 and Debtor 2 only                           [7 Disputed
              At least one of the debtors and another              Type of NONPRlORlTY unsecured claim:

              Check if this claim i s for a community                 Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                          report as priority claims
              No                                                      Debts to pension or profit-sharing plans, and other similar debts

                                                                                        Bill
              Yes                                                     Other.Specify     Last Statement Date: 5/5/2017




Official Form 106 EIF                                  Schedule EIF: Creditors Who Have Unsecured Claims                                                   Page 7 of 18
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-Debtor 1 Jon Wells                                                                                        Case number (if know)


           Kirk Consulting                                            Last 4 digits of account number
           Nonpriority Creditor's Name
           8830 Morro Road                                            When was the debt incurred?           3131 11 5
           Atascadero, CA 93422
           Number Street City State Zlp Code                          As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                 Type of NONPRlORlTY unsecured claim:

               Check if this claim is for a community                    Student loans




                                                                      .
           debt                                                          Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                            report as priority claims
                                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Bill
              Yes                                                        Other. Specify   Last Statement Date: 12/7/2016


           Leopold and Murphy, DDS, Inc.                              Last 4 digits of account number       0789                                               $702.20
           Nonpriority Creditor's Name




           .
           878 Walnut Street                                          When was the debt incurred?           11/28/2017
           San Luis Obispo, CA 93401-2725
           Number Street City State Zlp Code                          As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
           1
           7 At least one of the debtors and another                  Type of NONPRlORlTY unsecured claim:




           .   Check if this claim is for a community                    Student loans
           debt




                                                                      .
                                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                            report as priority claims
               No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Medical Debt
           1
           7 Yes                                                         Other. Specify   Last Statement Date: 11/28/2017


           McKesson                                                   Last 4 digits of account number       7239                                             $2,371.26
           Nonpriority Creditor's Name
           9954 Mayland Drive                                         When was the debt incurred?           212812017




                                                                      .
           Suite 4000
           Henrico, VA 23233
           Number Street City State Zlp Code                          As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
               Debtor 1 only                                             Contingent

               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                 Type of NONPRlORlTY unsecured claim:

               Check if this claim is for a community                    Student loans
           debt                                                          Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                            report as priority claims
                                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Bill
               Yes                                                       Other. Specify   Last Statement Date: 2/28/2017




Official Form 106 EIF                                    Schedule EIF: Creditors Who Have Unsecured Claims                                                    Page 8 o f 18
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 Debtor 1 Jon Wells                                                                                       Case number (if know)


           Message on Hold                                           Last 4 digits of account number       2855
           Nonpriority Creditor's Name
           31 5 Arbor Ridge Lane                                     When was the debt incurred?           411512017
           Conroe, TX 77384
           Number Street City State Zlp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
           [7 Debtor 1 only                                              Contingent

               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRlORlTY unsecured claim:

               Check if this claim is for a community                [7 Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims
           H No                                                          Debts to pension or profit-sharing plans, and other similar debts

                                                                                           Bill
              Yes                                                       Other. Specify     Last Statement Date: 413012017


           Message on Hold                                           Last 4 digits of account number       3479                                               $1 12.00
           Nonpriority Creditor's Name
           Arbor Ridge Lane                                          When was the debt incurred?           711512017
           Conroe, TX 77384
           Number Street City State Zlp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one
           [7 Debtor 1 only                                             Contingent

           1
           7 Debtor 2 only                                               Unliquidated
           [7 Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                Type of NONPRlORlTY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims
           H No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Bill
              Yes                                                       Other. Specify    Last Statement Date: 713012017


W          Meyer PT
           Nonpriority Creditor's Name
                                                                     Last 4 digits of account number       2432                                             $1,215.74

           PO Box 638256                                             When was the debt incurred?           1112312016
           Cincinnati, OH 45263-8256
           Number Street City State Zlp Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           [7 Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
           [7 Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRlORlTY unsecured claim:

              Check i f this claim is for a community                   Student loans
           debt                                                      [7 Obligations arising out of a separation agreement or divorce that you did not
           ISthe claim subject to offset?                            report as priority claims
              No                                                     [7 Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Bill
              Yes                                                       Other. Specify    Last Statement Date: 311012017




Official Form 106 U F                                   Schedule EIF: Creditors Who Have Unsecured Claims                                                    Page 9 of 18
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-
Debtor 1 Jon Wells


         Michael's Window Cleaning                                Last 4 digits of account number
                                                                                                       Case number (if know)


                                                                                                        5813
         Nonpriority Creditor's Name
         PO Box 652                                               When was the debt incurred?           6/8/2016
         Atascadero, CA 93423
         Number Street City State Zlp Code                        As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                           Contingent

             Debtor 2 only                                           Unliquidated
             Debtor 1 and Debtor 2 only                              Disputed
             At least one of the debtors and another              Type of NONPRlORlTY unsecured claim:

         1
         7 Check if this claim is for a community                    Student loans
         debt                                                        Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                          report as priority claims

             No                                                      Debts to pension or profit-sharing plans, and other similar debts

                                                                                      Bill
             Yes                                                     Other. Specify   Last Statement Date: 3/23/2017


         Mission Linen Supply                                     Last 4 digits of account number       4210                                                $462.12
         Nonpriority Creditor's Name
         602 South Western Avenue                                 When was the debt incurred?           3/31/2017
        7
         Number Street City State Zlp Code                        As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                           Contingent
             Debtor 2 only                                           Unliquidated
             Debtor 1 and Debtor 2 only                              Disputed
             At least one of the debtors and another              Type of NONPRlORlTY unsecured claim:

              Check if this claim is for a community              0 Student loans
         debt                                                        Obligations arising out of a separation agreement or divorce that you did not
         I s the claim subject t o offset?                        report as priority claims

             No                                                      Debts to pension or profit-sharing plans, and other similar debts

                                                                                       Bill
             Yes                                                     Other. Specify    Last Statement Date: 3/31/2017


          Moshpit Digital lnc.                                    Last 4 digits of account number                                                         $1,865.38
          Nonpriority Creditor's Name
         662 Upham Street, Suite A                                When was the debt incurred?
         San Luis Obispo, CA 93401
          Number Street City State Zlp Code                       As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
                                                                     Contingent
             Debtor 1 only
             Debtor 2 only                                            Unliquidated

             Debtor 1 and Debtor 2 only                               Disputed
             At least one of the debtors and another              Type of NONPRlORlTY unsecured claim:

              Check if this claim is for a community                 Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

             No                                                       Debts to pension or profit-sharing plans, and other similar debts

             yes                                                     Other, specify Judgment Dated: 5/5/2017




Official Form 106 E/F                                  Schedule EIF: Creditors Who Have Unsecured Claims                                                   Page 10 of 18
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Debtor 1 Jon Wells                                                                                        Case number (if know)


         Nancy Pawlik, MD                                            Last 4 digits of account number       2695                                             $1,828.00
         Nonpriority Creditor's Name
         437 Marsh Street                                            When was the debt incurred?           3/31/2016
         San Luis Obispo, CA 93401
         Number Street City State Zlp Code                           As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                              Contingent
             Debtor 2 only                                              Unliquidated
             Debtor 1 and Debtor 2 only                                 Disputed
             At least one of the debtors and another                 Type of NONPRlORlTY unsecured claim:

             Check if this claim is for a community                     Student loans
         debt                                                           Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                             report as priority claims

             No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Medical Bill
                                                                        Other. Specify   Last Statement Date: 3/31/2016


W         NCMK Financial Corporation
         Nonorioritv Creditor's Name
                                                                     Last 4 digits of account number       3322

         PO'BOX 4866                                                 When was the debt incurred?           3/25/2017
         Des Moines, IA 50305
          Number Street City State Zlp Code                          As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                              Contingent

             Debtor 2 only                                              Unliquidated
             Debtor 1 and Debtor 2 only                                 Disputed
             At least one of the debtors and another                 Type of NONPRlORlTY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Loan
             yes                                                        Other. Specify    Lasf Statement Date: 3/25/2017


          On Deck                                                    Last 4 digits of account number       1015
          Non~rioritvCreditor's Name
          901 ~ o k Stuart
                     h     Street, Suite 700                         When was the debt incurred?           3/7/2017
          Arlington, VA 22203
          Number Street City State Zlp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

          17 Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRlORlTY unsecured claim:

              Check i f this claim is for a community                   Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Line of Credit
                                                                        Other. Specify    Last Statement Date: 3/7/2017




Oficial Form 106 U F                                    Schedule EIF: Creditors Who Have Unsecured Claims                                                     Page 11 of 18
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Debtor 1     Jon Wells                                                                                    C a s e number (if know)


          Optumlnsight                                              Last 4 digits o f account number       3801                                                $86.36
          Nonpriority Creditor's Name
          11000 Optum Circle                                        When was the debt incurred?            8/31/2017
          Eden ~ r i i r i eMN
                            , 55344
          Number Street City State Zlp Code                         As o f the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
               Debtor 1 only                                           Contingent

               Debtor 2 only                                           Unliquidated
               Debtor 1 and Debtor 2 only                              Disputed
               At least one of the debtors and another              Type of NONPRlORlTY unsecured claim:

              Check if this claim i s for a community                  Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject t o offset?                          report as priority claims
               No                                                      Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Bill
               Yes                                                     Other. Specify    Last Statement Date: 8/31/2017


4.2
19        Pain Management specialists                               Last 4 digits o f account number                                                          $370.09
          Nonpriority Creditor's Name
          PO Box 4659                                               When was the debt incurred?            6/2/2016
          San Luis Obispo, CA 93403-4659
          Number Street City State Zlp Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

               Debtor 1 only                                           Contingent
               Debtor 2 only                                           Unliquidated
               Debtor 1 and Debtor 2 only                              Disputed
               At least one of the debtors and another              Type o f NONPRlORlTY unsecured claim:

              Check i f this claim is for a community                  Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject t o offset?                          report as priority claims
               No                                                      Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Medical Bill
               Yes                                                     Other. Specify    Last Statement Date: 6/2/2016


          Quill                                                     Last 4 digits o f account number      3844
          Nonprioritv Creditor's Name
                                                                    When was the debt incurred?           2181201 7
          Philadelphia, PA 19101-0600
          Number Street City State Zlp Code                         As o f the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
               Debtor 1 only                                           Contingent

               Debtor 2 only                                           Unliquidated
               Debtor 1 and Debtor 2 only                              Disputed
               At least one of the debtors and another              Type o f NONPRlORlTY unsecured claim:

           n  Check i f this claim i s for a community                 Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject t o offset?                          report as priority claims

               No                                                      Debts to pension or profit-sharing plans, and other similar debts

                                                                                        Bill
               Yes                                                     Other. Specify   Last Statement Date: 2/8/2017




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 Debtor 1 Jon Wells                                                                                     Case number (if know)


           Rock Harbor Marketing                                   Last 4 digits o f account number       0739
          Nonpriority Creditor's Name
          245 Bali Street                                          When was the debt incurred?            21112017
          Morro Bay, CA 93442
          Number Street City State Zlp Code                        As o f the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           [7 Debtor 1 only                                           Contingent

           1
           7 Debtor 2 only                                            Unliquidated
           [7 Debtor 1 and Debtor 2 only                              Disputed
              At least one of the debtors and another              Type o f NONPRlORlTY unsecured claim:

          [7 Check i f this claim is for a community               [7 Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                          report as priority claims
                                                                   [7 Debts to pension or profit-sharing plans, and other similar debts
                                                                                        Bill
              Yes                                                     Other. Specify    Last Statement Date: 2/1/2017


          San Luis Ambulence                                       Last 4 digits o f account number      0519
          Nonpriority Creditor's Name
          3546 South Higuera Street                                When was the debt incurred?           61512015
          San Luis Obispo, CA 93401
          Number Street City State Zlp Code                        As o f the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                        [7 Contingent
           [7 Debtor 2 only                                        [7 Unliquidated
              Debtor 1 and Debtor 2 only                           [7 Disputed
          [7 At least one of the debtors and another               Type o f NONPRlORlTY unsecured claim:

          [7 Check i f this claim i s for a community              [7 Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject t o offset?                         report as priority claims
                                                                      Debts to pension or profit-sharing plans, and other similar debts

                                                                                        Medical Bill
              Yes                                                     Other. Specify    Last Statement Date: 81712015


          Santa Barbara Orthopedic Institute                       Last 4 digits o f account number      7723                                                 $96.31
          Nonpriority Creditor's Name
          2324 Bath Street                                         When was the debt incurred?           12/30/2016
          Santa Barbara, CA 93105-4330
          Number Street City State Zlp Code                        As o f the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                        [7 Contingent
          [7 Debtor 2 only                                            Unliquidated
          [7 Debtor 1 and Debtor 2 only                            [7 Disputed
          [7 At least one of the debtors and another               Type o f NONPRlORlTY unsecured claim:

          [7 Check i f this claim i s for a community              [7 Student loans
          debt                                                     [7 Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                          report as priority claims
              No                                                      Debts to pension or profit-sharing plans, and other similar debts

                                                                                       Medical Bill
              Yes                                                     Other. Specify   Last Statement Date: 12130/2016




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Debtor I     Jon Wells                                                                                 Case number (if know)


W
I


         Sierra Vista Regional Medical Ctr.                      Last 4 digits of account number        2480
         Nonprioritv Creditor's Name
         PO' 60; 830913                                           When was the debt incurred?           6/12/2015
         Birmingham, AL 35283
         Number Street City State Zlp Code                       As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

              Debtor 1 only                                       [7 Contingent
           17 Debtor 2 only                                       [7 Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRlORlTY unsecured claim:

             Check if this claim is for a community                  Student loans
         debt                                                        Obligations arising out of a separation agreement or divorce that YOU did not
         Is the claim subject t o offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts

                                                                                      Medical Bill
           1 Yes                                                     Other. Specify   Last Statement Date: 9/26/2016


Id         Spectrum Business
           Nonpriority Creditor's Name
                                                                  Last 4 digits of account number       2620                                               $382.81

           P o BOX60229                                           When was the debt incurred?           3/24/2017
           Los Angeles, CA 90060
           Number Street City State Zlp Code                      As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
           [7 Debtor 1 only                                          Contingent
           [7 Debtor 2 only                                          Unliquidated
           [7 Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRlORlTY unsecured claim:

           [7 Check if this claim i s for a community                Student loans
           debt                                                      Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                        report as priority claims

              No                                                  [7 Debts to pension or profit-sharing plans, and other similar debts
                                                                                      Bill
              yes                                                    Other. Specify   Last Statement Date: 3/24/2017


           Spectrum Medical lnc.                                  Last 4 digits of account number       4162
           Nonpriority Creditor's Name
           132 Philadelphia Lane                                  When was the debt incurred?           11/8/2017
           Jasper, GA 30143
           Number Street City State Zlp Code                      As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent

              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another             Type of NONPRlORlTY unsecured claim:

           0 Check if this claim is for a community                  Student loans
           debt                                                      Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                        report as priority claims

           w No                                                       Debts to pension or profit-sharing plans, and other similar debts

                                                                                      Bill
              Yes                                                    Other. Specify   Last Statement Date: 11/8/2016




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 Debtor 1 Jon Wells                                                                                      Case number (if know)
I


          Star Cleaning Services                                   Last 4 digits of account number        3243
          Nonpriority Creditor's Name
          PO Box 4807                                              When was the debt incurred?            2/28/2017
          San Luis Obispo, CA 93403
          Number Street City State Zlp Code                        As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                      Contingent
              Debtor 1 only
              Debtor 2 only                                            Unliquidated

              Debtor 1 and Debtor 2 only                               Disputed
              At least one of the debtors and another              Type of NONPRlORlTY unsecured claim:

              Check if this claim is for a community                  Student loans
          debt                                                        Obligations arising &t of a separation agreement or divorce that you did not
          Is the claim subject t o offset?                         report as priority claims
              No                                                      Debts to pension or profit-sharing plans, and other similar debts

                                                                                        Bill
              Yes                                                     Other. Specify    Last Statement Date: 91412017


W         Stericycle
          Nonpriority Creditor's Name
                                                                   Last 4 digits of account number                                                        $1,626.85

          28161 N. Keith Drive                                     When was the debt incurred?
         1
          Number Street City State Zlp Code                        As o f the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                      Contingent
              Debtor 1 only
              Debtor 2 only                                           Unliquidated

              Debtor 1 and Debtor 2 only                              Disputed
           1
           7 At least one of the debtors and another               Type o f NONPRlORlTY unsecured claim:

              Check i f this claim is for a community                 Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject t o offset?                         report as priority claims
              No                                                      Debts to pension or profit-sharing plans, and other similar debts

                                                                                        Bill
           1
           7 Yes                                                      Other. Specify    Last Statement Date: 312312017


          Thompson Coe                                             Last 4 digits of account number       7002
          Nonpriority Creditor's Name
          700 N. Pearl Street, Twenty-Fifth F                      When was the debt incurred?           5l3012017
          Dallas, TX 75201-2832
          Number Street City State Zlp Code                        As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                           Contingent
              Debtor 2 only                                           Unliquidated
              Debtor 1 and Debtor 2 only                              Disputed
              At least one of the debtors and another              Type of NONPRlORlTY unsecured claim:

              Check if this claim is for a community                  Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject t o offset?                         report as priority claims

              No                                                      Debts to pension or profit-sharing plans, and other similar debts

                                                                                       Bill
              yes                                                     Other. Specify   Last Statement Date: 612212017




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-
Debtor 1 Jon Wells


          V.S. Department of Education                                    Last 4 digits of account number
                                                                                                               Case number (if know)


                                                                                                                 8251
          Nonpriority Creditor's Name
          400 Maryland Avenue, SW                                         When was the debt incurred?
          Washington, DC 20202
          Number Street City State Zlp Code                               As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

                Debtor 1 only                                                contingent
          1
          7 Debtor 2 only                                                    Unliquidated
                Debtor 1 and Debtor 2 only                                   Disputed
                At least one of the debtors and another                   Type of NONPRlORlTY unsecured claim:

              Check if this claim is for a community                         Student loans
          debt                                                               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                                 report as priority claims

                No                                                           Debts to pension or profit-sharing plans, and other similar debts

                                                                                                Student Loan Debt
                Yes                                                          Other. Specify     Last Statement Date: 3/1/2017


          Union Bank                                                      Last 4 digits of account number        9834
          Nonpriority Creditor's Name
          PO Box 301 15                                                   When was the debt incurred?            1/19/2017
          Los ~ n ~ e l e s90030-01
                             , - ~ ~ 15
          Number Street City State Zlp Code                               As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                             Contingent
                Debtor 1 only
                Debtor 2 only                                                Unliquidated

                Debtor 1 and Debtor 2 only                                   Disputed
                At least one of the debtors and another                   Type of NONPRlORlTY unsecured claim:

              Check if this claim is for a community                         Student loans
          debt                                                               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                                 report as priority claims

                No                                                           Debts to pension or profit-sharing plans, and other similar debts

                                                                                                Loan
                                                                                                Last Statement Date: 711212017
                                                                                                Debt of Chiro Care Inc.
                Yes                                                          Other. Specify     Guarantor: Jon Wells

m     ~     i        sO t hte r s to B e Notified A b o u t a Debt That Y o u A l r e a d y L i s t e d
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed i n Parts Ior 2. For example, i f a collection agency
   is tlying to collect from you for a debt you owe to someone else, list the original creditor in Parts Ior 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed i n Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts i n Parts Ior 2, do not fill out or submit this page.
Name and Address                                                   On which entry in Part 1 or Part 2 did you list the original creditor?
A.R.M. Solutions                                                   Line   4.38
                                                                             of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
PO Box 3666                                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
Camarillo, CA 93011-3666
                                                                   Last 4 digits of account number

 Name and Address                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
Action Professionals Incorporated                                  Line   4.of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
591 12th St                                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
Paso Robles, CA 93446
                                                                   Last 4 digits of account number

 Name and Address                                                  On which entry in Part Ior Part 2 did you list the original creditor?
 ClearGage                                                         Line 4.9 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 7028 W. Waters Ave. Suite 399                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 Tampa, FL 33634-2292
                                                                   Last 4 digits of account number

 Name and Address                                                  On which entry in Part 1 or Part 2 did you list the original creditor?


Official Form 106 V F                                       Schedule EIF: Creditors Who Have Unsecured Claims                                                              Page 16 of 18
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Debtor 1     Jon Wells                                                                                    Case number (if know)

CMRE Financial Services                                       Line 4.32 of (Check one):               [7 Part 1: Creditors with Priority Unsecured Claims
3075 E. Imperial Hwy Suite 200                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
Brea, CA 92821
                                                              Last 4 digits of account number

Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
Coastal Recovery Solutions                                    Line 4.13 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
PO Box 480                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
Grover Beach. CA 93483-0480
                                                              Last 4 digits of account number

Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
Coastal Recovery Solutions                                    Line  4.8
                                                                      of (Check one):                      Part 1: Creditors with Priority Unsecured Claims
1666 Ramona Ave                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
Grover Beach, CA 93483-0480
                                                              Last 4 digits of account number

Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
Credit Management, L.P.                                       Line  4.6
                                                                      of (Check one):                 [7 Part 1: Creditors with Priority Unsecured Claims
4200 International Parkway                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
Carrollton, TX 75007-1912
                                                              Last 4 digits of account number                  6847

Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
Firstsource Advantage, LLC                                    Line  4.2
                                                                      of (Check one):                      Part 1: Creditors with Priority Unsecured Claims
PO Box 628                                                                                            1 Part 2: Creditors with Nonpriority Unsecured Claims
Buffalo, NY 14240-0628
                                                              Last 4 digits of account number                  7897
Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
GC Services                                                   Line  4.2
                                                                      of (Check one):                      Part 1: Creditors with Priority Unsecured Claims
PO Box 3044                                                                                           1 Part 2: Creditors with Nonpriority Unsecured Claims
Livonia, MI 48151-3044
                                                              Last 4 digits of account number

Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Northland Group                                              Line 4.27 of (Check one):               [7 Part 1: Creditors with Priority Unsecured Claims
 PO Box 390846                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Minneapolis, MN 55439
                                                              Last 4 digits of account number

Name and Address                                              On which entrv in Part 1 or Part 2 did vou list the oriainal creditor?
Patenaude & Felix, A.P.C.                                     Line 4.27 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
4545 Murphy Canyon Road, 3rd                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
Floor
San Diego, CA 92123
                                                              Last 4 digits of account number                  5518
Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
Resurgent Capital Services LP                                 Line 4.27 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
PO Box 10497                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
Greenville, SC 29603
                                                              Last 4 digits of account number

Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
RMS                                                           Line  4.28of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
PO Box 361625                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
Columbus, OH 43236
                                                              Last 4 digits of account number                  5787
Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
Transworld Systems Inc.                                       Line  4.4
                                                                      of (Check one):                      Part 1: Creditors with Priority Unsecured Claims
507 Prudential Road                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
Horsham, PA 19044
                                                              Last 4 digits of account number

Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
Wetsch Abbott Osborn Van Vliet                                Line  4.26of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
PLC                                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims

Official Form 106 E/F                                  Schedule EIF: Creditors Who Have Unsecured Claims                                                             Page17of I 8
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 Debtor 1 Jon Wells                                                                                     Case number (if know)

974-73rd Street, Suite 20
Windsor Heights, IA 50324
                                                             Last 4 digits of account number


             A d d t h e A m o u n t s f o r E a c h Type o f Unsecured Claim
6. Total the amounts of certain types o f unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. 5159. Add the amounts for each
   type of unsecured claim.

                                                                                                                          Total Claim
                        6a.   Domestic support obligations                                               6a.      $                     0.00
       Total
     claims
 from Part I            6b.   Taxes and certain other debts you owe the government                       6b.     $                 11,208.21
                        6c.   Claims for death or personal injury while you were intoxicated             6c.     $                      0.00
                                                                                                                      -
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.    6d.      $                     0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                   6e.     $                 11,208.21   (
                                                                                                                          Total Claim
                        6f.   Student loans                                                              6f.     $                      0.00
       Total
     claims
 from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims
                        6h.   Debts to pension or profit-sharing plans, and other similar debts
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount
                              here.

                        6j.   Total Nonpriority. Add lines 6f through 6i.




Official Form 106 E/F                                  Schedule EIF: Creditors Who Have Unsecured Claims                                                 Page 18 of 18
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    Debtor I                  Jon Wells
                              First Name                         Middle Name           Last Name
I
    Debtor 2
    (Spouse if, filing)       First Name                         Middle Name           Last Name

    United States Bankruptcy Court for the:               CENTRAL DISTRICT OF CAI-IFORNU

    Case number
    (if known)                                                                                                                            Check if this is an
                                                                                                                                          amended filing



Official Form 106G
Schedule G: Executorv Contracts and Unex~iredLeases
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

    1.    Do you have any executory contracts or unexpired leases?
            No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
                 Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 AB).

2.        List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
          example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
          and unexpired leases.


            Person or company with whom you have the contract or lease                    State what the contract or lease is for
                              Name, Number, Street, City. State and ZIP Code

         2.1      NCMlC Financial Corporation                                                Spinal Decompression Table
                  PO Box 4866
                  Des Moines, IA 50305




    Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1
    Software Copyrigh! (c) 1996-2017 Best Case. LLC - w.bestcase.com                                                                                Best Case Bankruptcy
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    Debtor 1                  Jon Wells
                              First Name                           Middle Name       Last Name



I   Debtor 2
    (Spouse if, Rling)        First Name

    United States Bankruptcy Court for the:
                                                                   Middle Name       Last Name

                                                           CENTRAL DISTRICT OF CALIFORNIA

    Case number
    (if known)                                                                                                                   Check if this is an
                                                                                                                                 amended filing


Official Forni 106H
Schedule H: Your Codebtors                                                                                                                       12115

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill i t out, and number the entries in the boxes on the left. Attach the Additional Page t o this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

          1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

         1
         7 NO
             Yes

         2. Within the last 8 years, have you lived i n a community property state or territory? (Community property states and territories include
         Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

             No. Go to line 3.
             Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


      3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
         in line 2 again as a codebtor only i f that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
         Form 106D), Schedule EIF (Official Form 106EIF), or Schedule G (Official Form 106G). Use Schedule D, Schedule EIF, or Schedule G to fill
         out Column 2.

                  Column 1: Your codebtor                                                             Column 2: The creditor t o whom you owe the debt
                  Name. Number. Street, City. State and ZIP Code                                      Check all schedules that apply:


       3.1        Seven Peaks Medical Group, Inc.                                                        Schedule D, line
                  3889 Long Street, Suite 201                                                            Schedule EIF, line    4.5
                  San Luis Obispo, CA 93401
                                                                                                      El Schedule G
                                                                                                      Bioventus LLC



       3.2        Seven Peaks Medical Group, Inc.                                                       Schedule D, line
                  3889 Long Street, Suite 201                                                           Schedule EIF, line   4.10
                  San Luis Obispo, CA 93401
                                                                                                        Schedule G
                                                                                                      Divine Plant Design, Inc.



       3.3        Seven Peaks Medical Group, Inc.                                                       Schedule D, line
                  3889 Long Street, Suite 201                                                           Schedule EIF, line     4.14
                  San Luis Obispo, CA 93401
                                                                                                        Schedule G
                                                                                                      Jubilant HollisterStier LLC




Official Form 106H                                                               Schedule H: Your Codebtors                                   Page 1 of 4
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Debtor 1 Jon Wells                                                                      Case number (iknown)
                                                                                                      f




            Column 1: Your codebtor
                                                                                             Check all schedules that apply:

  3.4       Seven Peaks Medical Group, Inc.                                                    Schedule D, line
            3889 Long Street, Suite 201                                                        Schedule EIF, line       4.18
            San Luis Obispo, CA 93401                                                          Schedule G
                                                                                             McKesson



   3.5      Seven Peaks Medical Group, Inc.                                                    Schedule D, line
            3889 Long Street, Suite 201                                                        Schedule EIF, line       4.21
            San Luis Obispo, CA 93401                                                          Schedule G
                                                                                             Meyer PT



   3.6      Seven Peaks Medical Group, Inc.                                                    Schedule D, line
            3889 Long Street, Suite 201                                                        Schedule EIF, line 4.22
            San Luis Obispo, CA 93401                                                          Schedule G
                                                                                             Michael's Window Cleaning



   3.7      Seven Peaks Medical Group, Inc.                                                    Schedule D, line
            3889 Long Street, Suite 201                                                        Schedule EIF, line 4.23
            San Luis Obispo, CA 93401                                                          Schedule G
                                                                                             Mission Linen Supply



   3.8      Seven Peaks Medical Group, Inc.                                                    Schedule D, line
            3889 Long street, Suite 201                                                        Schedule EIF, line 4.26
            San Luis Obispo, CA 93401                                                          Schedule G
                                                                                             NCMlC Financial Corporation



   3.9      Seven Peaks Medical Group, Inc.                                                    Schedule D, line
            3889 Long Street, Suite 201                                                        Schedule EIF, line       4.27
            San Luis Obispo, CA 93401                                                          Schedule G
                                                                                             On Deck



   3.10      Seven Peaks Medical Group, Inc.                                                   Schedule D, line
             3889 Long Street, Suite 201                                                       Schedule EIF, line       4.28
             San Luis Obispo, CA 93401                                                         Schedule G
                                                                                             Opturnlnsight




Official Form 106H                                                       Schedule H: Your Codebtors                                Page 2 of 4
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Debtor 1 Jon Wells                                                                        Case number (ifknown)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.1 1    Seven Peaks Medical Group, Inc.                                                      Schedule D, line
             3889 Long Street, Suite 201                                                          Schedule EIF, line   4.30
             San Luis Obispo, CA 93401
                                                                                                 Schedule G
                                                                                               Quill



    3.12     Seven Peaks Medical Group, Inc.                                                     Schedule D, line
             3889 Long Street, Suite 201                                                         Schedule EIF, line 4.31
             San Luis Obispo, CA 93401
                                                                                                 Schedule G
                                                                                               Rock Harbor Marketing



    3.13     Seven Peaks Medical Group, Inc.                                                     Schedule D, line
             3889 Long Street, Suite 201                                                         Schedule EIF, line    4.35
             San Luis Obispo, CA 93401
                                                                                                 Schedule G
                                                                                               Spectrum Business



    3.14     Seven Peaks Medical Group, Inc.                                                     Schedule D, line
             3889 Long Street, Suite 201                                                         Schedule EIF, line  4.36
             San Luis Obispo, CA 93401
                                                                                                 Schedule G
                                                                                               Spectrum Medical Inc.



    3.15     Seven Peaks Medical Group, Inc.                                                    Schedule D, line
             3889 Long Street, Suite 201                                                        Schedule EIF, line     4.3
             San Luis Obispo, CA 93401
                                                                                                Schedule G
                                                                                              Anthem Blue Cross



    3.16     Seven Peaks Medical Group, Inc.                                                     Schedule D, line
             3889 Long Street, Suite 201                                                         Schedule EIF, line 4.12
             San Luis Obispo, CA 93401
                                                                                                 Schedule G
                                                                                               Gannage Technology Services



    3.1 7    Seven Peaks Medical Group, Inc.                                                     Schedule D, line
             3889 Long Street, Suite 201                                                         Schedule EIF, line    4.19
             San Luis Obispo, CA 93401
                                                                                                 Schedule G
                                                                                               Message o n Hold




Official Form 106H                                                         Schedule H: Your Codebtors                                 Page 3 of 4
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Debtor 1 Jon Wells                                                                        Case number (ifknown)


           Additional Page to List More Codebtors
            Column 1: Your codebtor                                                            Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
   3.18     Seven Peaks Medical Group, Inc.                                                       Schedule D, line
            3889 Long Street, Suite 201                                                           Schedule EIF, line   4.20
            San Luis Obispo, CA 93401                                                          El Schedule G
                                                                                               Message on Hold



   3.19     Seve Peaks Medical Group                                                           El Schedule D, line
            3889 Long Street, Suite 201                                                          Schedule EIF, line
            San Luis Obispo, CA 93401                                                            Schedule G     2.1
                                                                                               NCMlC Financial Corporation




Official Form 106H                                                         Schedule H: Your Codebtors                                 Page 4 of 4
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1   Debtor I                      Jon Wells

    Debtor 2
    (Spouse, if filing)

1 United States Bankruptcy Court for the: CENTRAL DISTRICT OF CALIFORNIA
I
    Case number                                                                                              Check if this is:
    (If known)
                                                                                                                An amended filing
                                                                                                                A supplement showing postpetition chapter
                                                                                                                13 income as of the following date:

    Official Forni 1061                                                                                             MM IDDI W Y Y
    Schedule I: Your Income                                                                                                                 12115
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

                          Describe Employment

    1.     Fill in your employment
           information.                                                 Debtor I                                     Debtor 2 or non-filing
                                                                                                                                         --
                                                                                                                                            spouse
                                                                                                          -....--

           If you have more than one job,                                 Employed                                      Employed
           attach a separate page with           Employment status
                                                                          Not employed                                  Not employed
           information about additional
           employers.
                                                 Occupation
           Include part-time, seasonal, or
           self-employed work.                   Employer's name

           Occupation may include student                     address
           or homemaker, if it applies.


                                                 How long employed there?

                          Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                          For Debtor 1                For Debtor 2 or
                                                                                                                                      non-filing spouse

           List monthly gross wages, salary, and commissions (before all payroll
    2.     deductions). If not paid monthly, calculate what the monthly wage would be.       2.       $                0.00           $             NIA
    3.     Estimate and list monthly overtime pay.                                           3.      +$                0.00           +$ --NIA

    4.     Calculate gross Income. Add line 2 + line 3.                                      4.       $              0.00     11 5
                                                                                                                              I   I

                                                                                                                                                 NIA      1
                                                                                                                                                          I




    Official Form 1061                                                      Schedule I:Your Income
                  Case 9:17-bk-12341-DS                                               Doc 9 Filed 01/15/18 Entered 01/15/18 12:45:00                                                           Desc
                                                                                      Main Document    Page 37 of 50

Debtor 1      Jon Wells                                                                                                                                       Case number (if
                                                                                                                                                                            known)




      Copy line 4 here..........................................................................................................................     4.        $             0.00    $              NIA

5.    List all payroll deductions:
      5a.        Tax, Medicare, and Social Security deductions                                                                                                 $            0.00   $                NIA
      5b.        Mandatory contributions for retirement plans                                                                                                  $            0.00   $                NIA
      5c.        Voluntary contributions for retirement plans                                                                                                  $            0.00   $-               NIA
      5d.        Required repayments of retirement fund loans                                                                                                  $            0.00   $                NIA
      5e.        Insurance                                                                                                                                     $            0.00   $                NIA
      5f.        Domestic support obligations                                                                                                                  $            0.00   $                NIA
      5g.        Union dues                                                                                                                                    $            0.00   $                NIA
      5h.        Other deductions. Specify:                                                                                                                    $            0.00 + $                NIA
      Add the payroll deductions. Add lines 5a+5b+5~+5d+5e+5f+5g+5h.                                                                                          $             0.00     $              NIA
      Calculate total monthly take-home pay. Subtract line 6 from line 4.                                                                                     $             0.00     $              NIA
      List all other income regularly received:
      8a.    Net income from rental property and from operating a business,
             profession, or farm
            Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                                                                                     8a.       $        3,750.58     $              NIA
      8b. Interest and dividends                                                                                                                     8b.       $            0.00     $              NIA
      8c.    Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                                                                     8c.       $            0.00     $              NIA
      8d. Unemployment compensation                                                                                                                  8d.       $            0.00     $              NIA
      8e.    Social Security                                                                                                                         8e.       $            0.00     $              NIA
      8f.   Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                                                                                8f.  $                 0.00   $                NIA
      89. Pension or retirement income                                                                                                               89. $                  0.00   $                NIA
      8h. Other monthly income. Specify:                                                                                                             ah.+ $                 0.00 + $                NIA

      Add all other income. Add lines 8a+8b+8~+8d+8e+8f+8g+8h.                                                                                      9.


      Calculate monthly income. Add line 7 + line 9.
      Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
                                                                                                                                                   10.   I$
                                                                                                                                                         I

                                                                                                                                                                             1
                                                                                                                                                                   3,750.58 -+
                                                                                                                                                                                 7              1

                                                                                                                                                                                               = $        3,750.58   1
      State all other regular contributions to the expenses that you list in Schedule J.
      Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
      other friends or relatives.
      Do not include any amounts already included in lines 2-10or amounts that are not available to pay expenses listed in Schedule J.
      Specify:                                                                                                                 11. +$                                                                        0.00
                                                                                                                                                                                           I
      Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.                                                                    1                         I
      Write that amount on the Summary of Schedules and StatisticalSummary of Certain Liabilities and Related Data, if it
      applies                                                                                                                                                                            12. $
                                                                                                                                                                                           1
                                                                                                                                                                                                          3.7m.58    1
                                                                                                                                                                                                                     I
                                                                                                                                                                                               Combined
                                                                                                                                                                                               monthly income
      Do you expect an increase or decrease within the year after you file this form?
      -     No.
            Yes. Explain:                     1




Official Form 1061                                                                                                    Schedule I:Your Income
             Case 9:17-bk-12341-DS                        Doc 9 Filed 01/15/18 Entered 01/15/18 12:45:00                                    Desc
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Debtor 1                 Jon Wells                                                                           Check if this is:
                                                                                                                 An amended filing
Debtor 2                                                                                                         A supplement showing postpetition chapter
(Spouse, if filing)                                                                                              13 expenses as of the following date:

United States Bankruptcy Court for the:    CENTRAL DISTRICT OF CALIFORNIA                                           MM IDD IYYYY




Official Form 106J
Schedule J: Your Ex~enses                                                                                                                               1211 5
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

             Describe Your Household
 1.   Is this a joint case?
           NO. GO to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Householdof Debtor 2.

2.    Do you have dependents?               NO

      Do not list Debtor 1 and            rn Yes,   Fill out this information for   Dependent's relationship to       Dependent's      Does dependent
      Debtor 2.                                     each dependent..............    Debtor Ior Debtor 2               age              live with you?

      Do not state the                                                                                                                    No
      dependents names.                                                             Son                               9                   Yes
                                                                                                                                          No
                                                                                                                                          Yes
                                                                                                                                          No
                                                                                                                                          Yes
                                                                                                                                          No
                                                                                                                                          Yes
3.    Do your expenses include
      expenses of people other than
                                                 rn No
      yourself and your dependents?                 yes

           Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I:Your Income
(Official Form 1061.)

4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                           4. $                        4,893.17

      If not included in line 4:

      4a. Real estate taxes
      4b. Property, homeowner's, or renter's insurance
      4c.   Home maintenance, repair, and upkeep expenses
      4d. Homeowner's association or condominium dues
5.    Additional mortgage payments for your residence, such as home equity loans




Official Form 106J                                                    Schedule J: Your Expenses
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 Debtor 1    Jon Wells                                                                                Case number (if known)

6.     Utilities:
       6a. Electricity, heat, natural gas
       6b. Water, sewer, garbage collection
       6c.     Telephone, cell phone, Internet, satellite, and cable services
       6d. Other. Specify:
7.     Food and housekeeping supplies
8.     Childcare and children's education costs
9.     Clothing, laundry, and dry cleaning
10.    Personal care products and services
11.    Medical and dental expenses
12.    Transportation. Include gas, maintenance, bus or train fare.
       Do not include car payments.
 13.   Entertainment, clubs, recreation, newspapers, magazines, and books
 14.   Charitable contributions and religious donations
 15.   Insurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.
       15a. Life insurance
       15b. Health insurance
       15c. Vehicle insurance
       15d. Other insurance. Specify: State and Federal Taxes
 16.   Taxes. Do not include taxes deducted from your-      .pay
                                                               - or included in lines 4 or 20.
       Specify:                                                                                 16. $                                               0.00
 17.   Installment or lease payments:
       17a. Car payments for Vehicle 1                                                         17a. $                                         1,149.00
       17b. Car payments for Vehicle 2                                                         17b. $                                             0.00
       17c. Other. Specify:
                      .    -                                                                   17c. $                                             0.00
       17d. Other. Specify:                                                                    17d. $                                             0.00
 18.   Your payments of alimony, maintenance, and support that you did not report as
       deducted from your pay on line 5, Schedule I        ,Your Income (Official Form 1061).   18. $                                               0.00
 19.   Other payments you make to support others who do not live with you.                          $                                               0.00
       Specify:                                                                                 19.
20.    Other real property expenses not included in lines 4 or 5 of this form or on Schedule I  :Your lncome.
       20a. Mortgages on other property                                                        20a. $                                               0.00
       20b. Real estate taxes                                                                  20b. $                                               0.00
       20c. Property, homeowner's, or renter's insurance
       20d. Maintenance, repair, and upkeep expenses
       20e. Homeowner's association or condominium dues
21.    Other: Specify:                                                                          21. +$                                              0.00
                                                                                                                I                                   7
22. Calculate your monthly expenses                                                                             1                                          1
    22a. Add lines 4 through 21.
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2
       22c. Add line 22a and 22b. The result is your monthly expenses.

23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                     23a. $                              3,750.58
    23b. Copy your monthly expenses from line 22c above.                                                  23b. -$                            18,159.66

       23c. Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                             L
                                                                                                          23c. $                            -14,409.08

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
    modification to the terms of your mortgage?
          No.
       [7 Yes.          I Explain here:




Official Form 106J                                                Schedule J: Your Expenses
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'   Debtor
    Debtor 2
    (Spouse if, filing)
                            Jon Wells
                            First Name


                            First Name

    United States Bankruptcy Court for the:
                                                           Middle Name


                                                           Middle Name

                                                     CENTRAL DISTRICT OF CALIFORNIA
                                                                                    Last Name


                                                                                    Last Name




    Case number
    (if known)                                                                                                                    17 Check if this is an
                                                                                                                                       amended filing



Official Form 1O6Dec
    Declaration About an Individual Debtor's Schedules
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152,1341,1519, and 3571.



                      Sign Below


           Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?




                  Yes. Name of person                                                                           Attach Bankruptcy Petition Preparer's Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


                                         , I declare that I have read the summary and schedules filed with this declaration and


                                                                                    X
                                                                                        Signature of Debtor 2


                                                                                        Date




Official Form 106Dec                                      Declaration About an Individual Debtor's Schedules
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1   Debtor I                 Jon Wells
                             First Name                     Middle Name                   Last Name

    Debtor 2
    (Spouse if, filing)      First Name                     Middle Name                   Last Name

    United States Bankruptcy Court for the:           CENTRAL DISTRICT OF CALIFORNIA

    Case number
    (if known)                                                                                                                               Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet t o this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

                   Give Details About Your Marital Status and Where You Lived Before

1.        What is your current marital status?

                 Married
          4      Not married

2.        During the last 3 years, have you lived anywhere other than where you live now?

          4      No
                 Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

           Debtor 1 Prior Address:                               Dates Debtor 1             Debtor 2 Prior Address:                              Dates Debtor 2
                                                                 lived there                                                                     lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico. Texas, Washington and Wisconsin.)

          4 No
                 Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

                   Explain the Sources of Your Income

4.        Did you have any income from employment or from operating a business during this year or the two previous calendar years?
          Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
          If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

                 No
                 Yes. Fill in the details.

                                                   Debtor I                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

    For last calendar year:                          Wages, commissions.                        $80,533.00           Wages, commissions,
    (January I t o December 31,2017 )              bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
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 Debtor 1     Jon Wells                                                                                    Case number (~fknown)



                                                  Debtor I
                                                  Sources of income                 Gross income                  Sources of income            Gross income
                                                  Check all that apply.             (before deductions and        Check all that apply.        (before deductions
                                                                                    exclusions)                                                and exclusions)

 For the calendar year before that:                 Wages, commissions,                         $39,759.00        [7 Wages, commissions,
 (January 1 to December 31,2016)                  bonuses, tips                                                   bonuses, tips

                                                      Operating a business                                        [7 Operating a business


For the calendar year:                              Wages, commissions,                         $65,889.00          Wages, commissions,
(January 1 to December 31,2015 )                  bonuses, tips                                                   bonuses, tips

                                                      Operating a business                                        [7 Operating a business



5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
      [7    Yes. Fill in the details.

                                                 Debtor I                                                         Debtor 2
                                                 Sources of income                 Gross income from              Sources of income            Gross income
                                                 Describe below.                   each source                    Describe below.              (before deductions
                                                                                   (before deductions and                                      and exclusions)
                                                                                   exclusions)

             List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1's or Debtor 2's debts primarily consumer debts?
      [7 No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debtsare defined in 11 U.S.C. 5 101(8) as "incurred by an
                 individual primarily for a personal, family, or household purpose."

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                        No.     Go to line 7.
                         Yes    List below each creditor to whom you paid a total of $6,425' or more in one or more payments and the total amount you
                                paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                not include payments to an attorney for this bankruptcy case.
                      Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor Ior Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                         No.      Go to line 7
                         Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                  include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                  attorney for this bankruptcy case.


       Creditor's Name and Address                             Dates of payment             Total amount          Amount you       Was this payment for ...
                                                                                                    paid            still owe




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Debtor 1      Jon Wells                                                                                    Case number (ifknown)



7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
     of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
     a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
     alimony.

     a No
           Yes. List all payments to an insider.
      Insider's Name and Address                                Dates of payment            Total amount          Amount you         Reason for this payment
                                                                                                    paid            still owe

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
     insider?
     Include payments on debts guaranteed or cosigned by an insider.

     a No
           Yes. List all payments to an insider
      Insider's Name and Address                                Dates of payment            Total amount          Amount you         Reason for this payment
                                                                                                    paid            still owe        Include creditor's name

             Identify Legal Actions, Repossessions, and Foreclosures

9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

            No




                                                                                                                                     .
            Yes. Fill in the details.
      Case title                                                Nature of the case          Court or agency                          Status of the case
      Case number
       Commercial Collection Service,                           Suit for Money              Superior Court County of                    Pending




                                                                                                                                     .
       Inc. v. Jon Wells                                                                    San Luis Obispo                             On appeal
       14LCP0492                                                                            901 Park Street .                           Concluded
                                                                                            Paso Robles, CA 93446

      American Express Bank, FSB, a                             Suit for Money              County of San Luis Obispo,                  Pending




                                                                                                                                     .
      federal savings bank v. Dr. Jon P.                                                    Paso Robles                                 On appeal
      Wells, et al.                                                                         901 Park Street                          C] Concluded
      16CVP-0153                                                                            Paso Robles, CA 93446

       Moshpit Digital, Inc. v. Seven                           Suit for Money              San Luis Obispo Superior                    Pending




                                                                                                                                     .
       Peaks Wellness and Medical Group                                                     Court                                    C] On appeal
       17 SC 0077                                                                           1050 Monterey Street                     C] Concluded
                                                                                            San Luis Obispo, CA 93408

      NCMlC Finanace Corporation v.                             Judgment                    Polk County, Iowa District                  Pending
      Jon Paul Wells, Seven Peaks                                                           Court                                    C] On appeal
      Medical Group, Inc.                                                                   500 Mulberry St. #408                    C] Concluded
      LACLI 37864                                                                           Des Moines, IA 50309


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

      C] No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                        Value of the
                                                                                                                                                             property
                                                                 Explain what happened




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         Jon Wells
Debtor 1 -                                                                                                 Case number (if
                                                                                                                        known)




      Creditor Name and Address                                Describe the Property                                         Date                   Value of the
                                                                                                                                                       property
                                                               Explain what happened
      Commercial Collection Services                           Founders Community Bank Account                               3/29/2017
      2250 King Ct #SO                                         Number 05100136
      San Luis Obispo, CA 93401
                                                                   Property was repossessed.
                                                                      . . was foreclosed.
                                                                   Pro~ertv
                                                                   Property was garnished.

                                                                   Property was attached, seized or levied.


      American Express                                         Rabobank Bank Account #3565
      PO Box 26312
      Lehigh Valley, PA 18002                                      Property was repossessed.
                                                                   Property was foreclosed.
                                                                   Property was garnished.

                                                                   Property was attached, seized or levied.


11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
      Creditor Name and Address                                Describe the action the creditor took                         Date action was             Amount
                                                                                                                             taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

             List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                   Describe the gifts                                       Dates you gave                 Value
       per person                                                                                                            the gifts

      Person t o Whom You Gave the Gift and
      Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions t o charities that total              Describe what you contributed                            Dates you                      Value
       more than $600                                                                                                        contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

             List Certain Losses

15. Within 1year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                 Describe any insurance coverage for the loss                       Date of your      Value of property
       how the loss occurred                              Include the amount that insurance has paid. List pending           loss                           lost
                                                          insurance claims on line 33 of Schedule A/B: Prope*.

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 Debtor 1      Jon Wells                                                                                  Case number (ifknown)



               List Certain Payments or Transfers

16. Within 1year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                          Description and value of any property                   Date payment               Amount of
       Address                                                      transferred                                             or transfer was             payment
       Email or website address                                                                                             made
       Person Who Made the Payment, if Not You
       VaughnTaus                                                   Bankruptcy Services                                     12/27/2017
       1042 Pacific Street, Suite D
       San Luis Obispo, CA 93401


17. Within 1year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                         Description and value of any property                    Date payment               Amount of
       Address                                                     transferred                                              or transfer was             payment
                                                                                                                            made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
         No
            Yes. Fill in the details.
       Person Who Received Transfer                                 Description and value of                  Describe any property or        Date transfer was
       Address                                                      property transferred                      payments received or debts      made
                                                                                                              paid in exchange
       Person's relationship to you
       Perry Ford Lincoln                                          2013 Ford F 150- 90,000                    Received 2016 Ford F            112017
       12200 Los Osos Valley Road                                  miles                                      150
       San Luis Obispo, CA 93405                                   $8,300



19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                Description and value of the property transferred                         Date Transfer was
                                                                                                                                              made

               List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    lnclude checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
         No
            Yes. Fill in the details.
       Name of Financial Institution and                       Last 4 digits of          Type of account or          Date account was              Last balance
       Address (Number, Street, city, State and ZIP            account number            instrument                  closed, sold,             before closing or
       Code)                                                                                                         moved, or                          transfer
                                                                                                                     transferred

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 Debtor 1      Jon Wells                                                                                       Case number (if known)



       Name of Financial Institution and                        Last 4 digits of              Type of account or          Date account was        Last balance
       Address (Number, Street, City. State and ZIP             account number                instrument                  closed, sold,       before closing or
       Code)                                                                                                              moved, or                    transfer
                                                                                                                          transferred
       Premier Valley Bank                                      XXXX-136                          Checking                7116/2017                        $0.00
       255 E River Park Circle, Suite 180                                                         Savings
       Fresno, CA 93720
                                                                                                  Money Market
                                                                                                  Brokerage
                                                                                                  Other-


21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                Who else had access to it?                 Describe the contents          Do you still
       Address (Number, Street, City, State and ZIP Code)           Address (Number. Street, City,                                            have it?
                                                                    State and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                     Who else has or had access                 Describe the contents          Do you still
       Address (Number, Street, City. State and ZIP Code)           to it?                                                                    have it?
                                                                    Address (Number, Street, City,
                                                                    State and ZIP Code)




23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                 Where is the property?                     Describe the property                       Value
       Address (Number, Street. City, State and ZIP Code)           (Number, Street, City, State and ZIP
                                                                    Code)

               Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                 Governmental unit                             Environmental law, if you   Date of notice
       Address (Number, Street, City, State and ZIP Code)           Address (Number, Street. City, State and      know it
                                                                    ZIP Code)




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Debtor 1      Jon Wells                                                                                        Case number (ifknown)



25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
      Name o f site                                                 Governmental unit                             Environmental law, i f you       Date o f notice
      Address (Number, Street. City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                    ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

      1     No
            Yes. Fill in the details.
       Case Title                                                   Court or agency                            Nature of the case                  Status of the
       Case Number                                                  Name                                                                           case
                                                                    Address (Number, Street. City.
                                                                    State and ZIP Code)




27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

            1 A member of a limited liability company (LLC) or limited liability partnership (LLP)
                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.
      1 Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                            Describe the nature of the business                Employer Identification number
       Address                                                                                                     Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                   Dates business existed
       Seven Peaks Medical Group, Inc.                                                                             EIN:       XX-XXXXXXX
       3889 Long Street, Suite 201
       San Luis Obispo, CA 93401                                                                                   Fmm-To 2000-Present

       Chirocare Inc.                                                                                              EIN:       XX-XXXXXXX
       855 Venice Road
       Templeton, CA 93465                                                                                         From-To 1998-Present


28. Within 2 years before you filed for bankruptcy, did you give a financial statement t o anyone about your business? Include all financial
    institutions, creditors, or other parties.

      1 No
            Yes. Fill in the details below.
       Name                                                     Date Issued
       Address
       (Number. Street, City. State and ZIP Code)




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Debtor 1      Jon Wells                                                                                     Case number (if known)



             Sign Below
             n
                           ers on this Statement o f Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
                              nderstand that making a false statement, concealing property, or obtaining money or property by fraud in connection
                              can result in fines up to $250,000, or imprisonment for up to 20 years, or both.



                                                                         Signature of Debtor 2


                                                                         Date

Did you attach additional pages to Your Statement o f Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                 . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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I Debtor 2
I   (Spouse, if filing)

    United States Bankruptcy Court for the:           Central District of California
                                                                                                              1. There is no presumption of abuse

                                                                                                              2. The calculation to determine if a presumption of abuse
                                                                                                                                                                              I
                                                                                                                 applies will be made under Chapter 7 Means Test
                                                                                                                  Calculation (Official Form 122A-2).
    Case number
    (if known)
                                                                                                              3. The Means Test does not apply now because of


                                                                                                              Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly lncome
Be as complete and accurate as possible. If two married people are filing together, both are equally responsiblefor being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
aualifvina military service,. complete
                                 .     and file Statement of Exemotion from Presumotion ofAbuse Under -6 707fb1f21
                                                                                                                . . . . (Official
                                                                                                                        .         Form i22A-ISupp)
                                                                                                                                               . . . with this form.

                      Calculate Your Current Monthly lncome
      1. What i s your marital and filing status? Check one only.
                                                                                                                                                                              I
                 Not married. Fill out Column A, lines 2-1 1.                                                                                                                 1
                 Married and your spouse i s filing with you. Fill out both Columns A and B, lines 2-1 1.                                                                     I
                 Married and your spouse i s NOT filing with you. You and your spouse are:                                                                                    1
                    Living i n the same household and are not legally separated. Fill out both Columns A and B, lines 2-1 1.                                                  I
                    Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                     penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                     living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
       Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
       lOl(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
       the 6 months, add the incomefor all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
       spouses own the same rental property, pot the income from that property in one column only If you have nothlng to report for any line, write $0 ~nthe space.
                                                                                                          Column A                 Column B
                                                                                                          Debtor 1                 Debtor 2 o r
                                                                                                                                   non-filing spouse
      2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
         payroll deductions).
      3. Alimony and maintenance payments. Do not include payments from a spouse if
                                                                                            $                            0.00      $                                          I
         Column B is filled in.                                                             $                            0.00      $
      4. All amounts from any source which are regularly paid for household expenses
         of you or your dependents, including child support. Include regular contributions
         from an unmarried partner, members of your household, your dependents, parents,
         and roommates. Include regular contributions from a spouse only if Column B is not
         filled in. Do not include payments you listed on line 3.                           $                            0.00      $
      5. Net income from operating a business, profession, or farm
                                                                           Debtor 1
           Gross receipts (before all deductions)                     $                 7,050.58
           Ordinary and necessary operating expenses                  -$                3,300.00
           Net monthly income from a business,
           profession, or farm
      6. Net income from rental and other real property
                                                                                        Debtor 1
           Gross receipts (before all deductions)                            $         0.00
           Ordinary and necessary operating expenses                        -$         0.00
           Net monthly income from rental or other real property            $          0.00 COPYhere -> $                0.00      $
      7. Interest, dividends, and royalties                                                               $              0.00      $




Official Form 122A-1                                        Chapter 7 Statement of Your Current Monthly Income                                                    page 1
    Software Copyright (c) 1996-2017Best Case. LLC - w.bestcase.com                                                                                    Best Case Bankruptcy
                    Case 9:17-bk-12341-DS                                 Doc 9 Filed 01/15/18 Entered 01/15/18 12:45:00                                                             Desc
                                                                          Main Document    Page 50 of 50
     Debtor 1    Jon Wells                                                                                                             Case number (if known)



                                                                                                                                   Column A                     Column 13
                                                                                                                                   Debtor I                     Debtor 2 or
                                                                                                                                                                non-filing spouse
      8. Unemployment compensation                                                                                                 $                   0.00     $
           Do not enter the amount if you contend that the amount received was a benefit under
           the Social Security Act. Instead, list it here:



      9. Pension or retirement income. Do not include any amount received that was a
          benefit under the Social Security Act.                                                                                  $                    0.00     $
      10. Income from all other sources not listed above. Specify the source and amount.
          Do not include any benefits received under the Social Security Act or payments
          received as a victim of a war crime, a crime against humanity, or international or
          domestic terrorism. If necessary, list other sources on a separate page and put the
          total below.
                                                                                                                                  $                    0.00     $


                       Total amounts from separate pages, if any.                                                              + $                     0.00     $

      11. Calculate your total current monthly income. Add lines 2 through 10 for
          each column. Then add the total for Column A to the total for Column B.                                      1
                                                                                                                       I,
                                                                                                                        I I


                                                                                                                           $    3,750.58           1   +~$                l=l$           3,750.58         ~
                                                                                                                                                                                                          I
I                                                                                                                      I                           I    !
                                                                                                                                                                          I       Total current monthly       I
                                                                                                                                                                                                              i

L
                                                                                                                                                                                  income              -

                    Determine Whether the Means Test Applies to You

      12. Calculate your current monthly income for the year. Follow these steps:

             Copy your total current monthly income fn3m line A I.......................................................................
           la,                                                                                                                              Copy line II here=>

                  Multiply by 12 (the number of months in a year)


I          12b. The result is your annual income for this part of the form


      13. Calculate the median family income that applies to you. Follow these steps:

           Fill in the state in which you live.                                        '-1                         I
           Fill in the number of people in your household.                                          2

II         Fill in the median family income for your state and size of t-m~sehold............................................................................         13. ) $          71,636.00          1/
                     .
           To find a list of applicable median income amounts, no online using the link specified  .                 in the separate instructions                             I                           I   I
           for this form. his iist may also be available at the bankruptcy clerks office.
I
1 14. How do the lines compare?
1 14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There i s no presumption o f abuse.
                            Go Z% Part 3.
                                                                                         page 1, check box 2, The presumption o f abuse i s determined b y Form 122A-2.



                                                                                        hat the information on this statement and in any attachments is true and correct.




I                qgnaiure ff Debtor 1

I           Date ~ b u a r ~ ) l 5 , 2 0 1 8
                 MMW        i YYYY
                  If you checked line 14a, do NOT fill out or file Form 122A-2.

1                 If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                                Chapter 7 Statement of Your Current Monthly Income                                                                          page 2
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